
3 Ill. App.2d 112 (1954)
120 N.E.2d 381
Grace G. Darby, Appellant,
v.
John Donahue and Allanmar Corporation, Appellees.
Gen. No. 46,102.
Illinois Appellate Court.
Opinion filed May 19, 1954.
Rehearing denied June 9, 1954.
Released for publication July 2, 1954.
Joseph Barbera, for appellant.
Heineke &amp; Conklin, for appellees.
William H. Schrader, and Ralph Miller, of counsel.
(Abstract of Decision.)
Opinion by PRESIDING JUSTICE FEINBERG.
Reversed and remanded.
Not to be published in full.
